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				REVOCATION OF CERTAIN CERTIFIED SHORTHAND REPORTERS2015 OK 28Decided: 04/27/2015THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2015 OK 28, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 

RE: Revocation of Certificates of Certified Shorthand Reporters
ORDER
On March 2, 2015, this Court suspended the certificates of several certified shorthand reporters for failure to comply with the continuing education requirements for calendar year 2014 and/or with the annual certificate renewal requirements for 2015. See 2015 OK 10 (SCAD 2015-19). 
The Oklahoma Board of Examiners of Certified Shorthand Reporters has advised that the court reporters listed below continue to be delinquent in complying with the continuing education and/or annual certificate renewal requirements, and the Board has recommended to the Supreme Court of the State of Oklahoma the revocation of the certificate of each of these reporters, effective April 15, 2015, pursuant to 20 O.S., Chapter 20, App. 1, Rules 20 and 23.
IT IS THEREFORE ORDERED that the certificate of each of the certified shorthand reporters named below is hereby revoked effective April 15, 2015.
Jennifer L. Adams CSR # 1936
Lisa D. Carpenter CSR # 1758
Deanna Szurgot CSR # 1575
Krista L. Wagner CSR # 1870
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 27TH day of APRIL, 2015.
/S/CHIEF JUSTICE
ALL JUSTICES CONCUR.




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